Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 1 of 19 Pageid#: 518



                                                                              FILED
                                                                              6/24/2020




                                                   1:20CR00022, 1:20CR00023
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 2 of 19 Pageid#: 519
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 3 of 19 Pageid#: 520
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 4 of 19 Pageid#: 521
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 5 of 19 Pageid#: 522
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 6 of 19 Pageid#: 523
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 7 of 19 Pageid#: 524
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 8 of 19 Pageid#: 525
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 9 of 19 Pageid#: 526
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 10 of 19 Pageid#: 527
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 11 of 19 Pageid#: 528
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 12 of 19 Pageid#: 529
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 13 of 19 Pageid#: 530
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 14 of 19 Pageid#: 531
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 15 of 19 Pageid#: 532
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 16 of 19 Pageid#: 533
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 17 of 19 Pageid#: 534
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 18 of 19 Pageid#: 535




          June 21, 2020




          June 21, 2020
Case 1:20-cr-00023-JPJ-PMS Document 40 Filed 06/24/20 Page 19 of 19 Pageid#: 536
